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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 DONALD J. TRUMP FOR                          )
 PRESIDENT, INC.; et al.,                     ) Electronically Filed
                                              )
               Plaintiffs,                    ) Civil Action
                                              )
        v.                                    ) No.: 2-20-CV-966
                                              )
 KATHY BOOCKVAR; et al.,                      )
                                              ) Judge J. Nicholas Ranjan
               Defendants.                    )

       NOTICE OF SERVICE OF SUPPLEMENTAL DISCOVERY RESPONSES

       Plaintiffs, by their undersigned counsel, hereby give notice that on August 14, 2020, they

served supplemental responses per the Court’s August 13, 2020 Order (ECF # 374).

                                               Respectfully submitted,

                                               PORTER WRIGHT MORRIS & ARTHUR LLP

Date: August 15, 2020                    By: /s/ Ronald L. Hicks, Jr.
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                                             Jeremy A. Mercer (PA #86480)
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                                             Matthew E. Morgan (DC #989591)
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                                               Counsel for Plaintiffs
               Case 2:20-cv-00966-NR Document 381 Filed 08/15/20 Page 2 of 2




                                      CERTIFICATE OF SERVICE

             I hereby certify that I caused a true and correct copy of the foregoing Notice of Service on

August 15, 2020, via email on all parties who have entered an appearance in this action For any party

who has yet to enter an appearance, the undersigned certifies that a copy of the foregoing was sent to

that party’s County Solicitor, if known, via email or fax.

                                                      Respectfully submitted,

                                                      PORTER WRIGHT MORRIS & ARTHUR LLP

                                                By: /s/ Ronald L. Hicks, Jr.
                                                    Ronald L. Hicks, Jr. (PA #49520)
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